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                 UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION


JAMESON TAYLOR ANDERSON,
ROBERT DEAN ANDERSON, and              CONSOLIDATED CASES
ROGER MALDONADO,                       PURSUANT TO FED. R. CIV. P. 42

      Plaintiffs,
                                       Civil Action File No.
            v.
                                       1:19-cv-05582-SCJ
USI INSURANCE SERVICES LLC,

      Defendant.


USI INSURANCE SERVICES LLC,

      Plaintiff,                       Civil Action File No.

            v.                         1:20-cv-02490-SCJ

SOUTHEAST SERIES OF
LOCKTON COMPANIES, LLC,

      Defendant.


        ORDER REGARDING DEPOSITIONS AND DISCOVERY

      This matter is before the Court upon the Joint Motion for Entry of Order

Regarding Depositions and Discovery (the “Joint Motion”) filed by all parties to

these consolidated cases, specifically USI Insurance Services LLC (“USI”),


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Jameson Taylor Anderson, Robert Dean Anderson, Roger Maldonado, and

Southeast Series of Lockton Companies, LLC (“Lockton”). Having reviewed the

Joint Motion, based on the consent of all parties to these consolidated cases, and

for good cause shown, the Court GRANTS the Joint Motion ( w i t h

m o d i f i c a t i o n t o t h e p r o p o s e d o r d e r ) and ORDERS the following:

       1.     This Order modifies the Court’s August 4, 2020 Scheduling Order

(Doc. 150 in Case No. 1:19-cv-05582-SCJ and Doc. 23 in Case No. 1:20-cv-

02490-SCJ), the Court’s October 28, 2020 Order Regarding Depositions (Doc. 161

in Case No. 1:19-cv-05582-SCJ and Doc. 44 in Case No. 1:20-cv-02490-SCJ), the

Court’s November 23, 2020 Order Regarding Depositions, Discovery, and

Dispositive Motions (Doc. 173 in Case No. 1:19-cv-05582-SCJ and Doc. 52 in

Case No. 1:20-cv-02490-SCJ), and the Court’s December 9, 2020 Order Regarding

Expert Depositions and Related Discovery (Doc. 184 in Case No. 1:19-cv-05582-

SCJ and Doc. 63 in Case No. 1:20-cv-02490-SCJ). Except as expressly amended

by this Order, the above referenced Orders remain in full force and effect.

       2.     The Court approves the parties’ stipulation to complete the following

depositions after the close of discovery:

             The deposition of Manoj Sharma and of Lockton Pursuant to Fed. R.

              Civ. P. 30(b)(6);

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              The deposition of Rob Allen and of USI Pursuant to Fed. R. Civ. P.

               30(b)(6); and

              The deposition of Dwain Gadway.

      3.       The parties may complete these above-referenced depositions any

time prior to January 13, 2020, except that if a party submits to the Court a

discovery dispute that pertains to a deposition by the deadline specified below or

requests a protective order relating to a deposition prior to the deposition, the

deadline to take any such deposition shall be extended until ten (10) days after the

Court rules on the request or motion at issue or until the deadline otherwise

specified by subsequent order of the Court.

      4.       The parties’ deadline to submit any discovery disputes to the Court

pursuant to the Instructions for Cases Assigned to the Honorable Steve C. Jones

(Doc. 172 in Case No. 1:19-cv-05582-SCJ and Doc. 10 in Case No. 1:20-cv-

02490-SCJ) (the “Instructions”) is December 23, 2020, except as stated below.

Motions to Compel may only be filed by permission of the Court.

          5.    Notwithstanding Paragraph 4, a discovery dispute arising from the

 depositions specified in Paragraph 2 above, or the expert depositions, that relates to




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an issue that was not reasonably known to that party prior to the deposition may be

submitted to the Court pursuant to the Court’s Instructions within fourteen (14)

days of the deposition. Additionally, and for the purpose of clarity, any dispute

over the scope of the 30(b)(6) notice, even if discussed by the parties prior to the

deposition, may be submitted to the Court by the parties pursuant to the Court’s

Instructions within fourteen (14) days of the deposition to allow the parties the

opportunity to determine whether such a motion is necessary following the

testimony of the witness. Motions to Compel may only be filed by permission of

the Court.    No party shall be prejudiced or be deemed to have waived any

objection to the other parties’ 30(b)(6) notice by virtue of asserting objections to

such notice and/or asserting objections at the 30(b)(6) deposition; it shall not be

required for a party to move for a protective order in advance of its 30(b)(6)

deposition to preserve objections to topics in the notice.

      6.     Notwithstanding Paragraph 4, USI may submit a discovery dispute to

the Court pertaining to Taylor Anderson’s phone records and USI’s subpoena to

AT&T at any time on or before January 15, 2020. In addition, USI and Lockton

are the process of meeting and conferring regarding certain issues related to

Lockton’s production of documents on December 11, 2020 in response to USI”s




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